     3:22-cr-00761-JFA          Date Filed 09/02/22       Entry Number 1         Page 1 of 4




                      IN THE DISTRICT COURT OF THE L'NITE,D STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION


 UNITED STATES OF AMERICA                              CriminalNo         3:22-761

                                                        18 U.S.C. S 371
                                                       42 U.S.C. $ 1320a-7b(b)



                                                                     INFORMATION
 JOHN DEWEY HYNES

                                           COUNT I
                            (Conspiracy to Defraud the United States)

THE UNITED STATES ATTORNEY CHARGES:

       l.       The Defendant, JOHN DEWEY HYNES, and others defrauded the United States,

Medicare, and Medicare beneficiaries through a fraudulent kickback scheme that placed profit

over care

                                            Conspiracv

       2.       From at least in or around November 2018, and continuing up to August 2020, n

the District   of   South Carolina and elsewhere, the Defendant and others knowingly and

intentionally combined, conspired, confederated, agreed, and had a tacit understanding to:

       a.   knowingly defraud the United States by impairing, obstructing and defeating,         and

            attempting to impair, obstruct, and defeat the lawful functions of the United States

            Department of Health and Human Services "hereinafter DHHS;"

       b.   knowingly offering and paying remuneration, including kickbacks, directly            and

            indirectly, overtly and covertly, in cash and in kind, to any person to induce a person

            to refer an individual to a person for the furnishing and arranging for the furnishing of

            any item or service for which payment may be made in whole and in part under           a

                                            Page 1 of 4
     3:22-cr-00761-JFA           Date Filed 09/02/22         Entry Number 1      Page 2 of 4




            Federal health care program, that is, Medicare, in violation of Title 42,United States

            Code, Section I 320 a-7b(bX2XA); and

       c    knowingly offering and paying remuneration, including kickbacks and bribes, directly

            and indirectly, overtly and covertly, in cash and in kind, to any person to induce such

            person to purchase, and arrange forand recommendpurchasingand orderingany good,

            for which payment may be made in whole and in part under a Federal health          care

            program, that is, Medicare, in violation of Title 42,United States Code, Section 1320a-

            7b(bx2xB).

                                     Purpose   of the Conspiracy

       3.      It   was the purpose of the conspiracy for the Defendant, JOHN DEWEY HYNES,

and others to enrich themselves and maximize profits at the expense of the United States and

patients by participating in the following scheme.

                                Manner and Means of the Conspiracv

       4.      The manner and means of the conspiracy operated substantially as follows and

include, but were not limited to:

       a.      The Defendant contracted through      a   telemedicine company;

       b.      The telemedicine company contracted with a marketing company that provided

               durable medical equipment companies signed prescriptions              for   Medicare

               beneficiaries;

       c.      The telemedicine company would be provided information              of a    Medicare

               beneficiary who had been contacted by the marketing company regard ing a product

               or who had filled out a screening form;

       d.      The Defendant would be provided answered intake clinical summaries from          dre



                                           Page   2 of 4
     3:22-cr-00761-JFA          Date Filed 09/02/22               Entry Number 1     Page 3 of 4




                telemedicine company;

        e.      The Defendant would often sign prescriptions of Medicare beneficiaries whom the

                Defendant   did not have patient/healthcare professional relationship, and          the

                Defendant would often sign prescriptions without ever speaking to, examining or

                following up with, the patients; and

        f.     The prescriptions would be used to             bill   Medicare for items without medical

               determinations of necessity, solely based upon what an intake screenerenteredonto

               a   form.

                                                Overt Acts

        5.     In furtheranceof the conspiracy and to effectthe conspiracy,the followingovert

acts, among others, were committed in the District          of South Carolina and elsewhere:

   a.   In or about the Summer of 2020, the Defendant, who was a licensed physician in the

        District of South Carolina, signed a prescription for orthotic braces for Medicare

        beneficiary H.W.

   b.   The Defendant never personally examined H.W., nor did the Defendant have any prior

        patient/healthcare profe ssional   re lationsh ip   with H. W.

   c.   The Defendant was paid for signing the prescription for the orthotic braces by the

        telemedicine company;

   d.   A durable medical equipment company billed Medicare for the orthotic braces for H.W.

   e. At no point since signing the prescription on or about the Summer of 2020, did the
        Defendant follow-up, or otherwise have any direct or indirect contact, with H.W.




                                               Page   3 of    4
     3:22-cr-00761-JFA           Date Filed 09/02/22         Entry Number 1   Page 4 of 4




                                      Improper Benefit Obtained

      6.        The value of the improper benefit conferred upon Mr. Hynes as a result     of   the

charged conspiracy is between $ 15,000 and $40,000. See U.S.S.G. Section 2B4.1.




      All   in violation of Title I 8. United States Code. Section 37 l




                                                             ADAIR F. BOROUGHS
                                                             LJNITED STATES ATTORNEY




                                                                              (# r 082s)
                                                             Assistant U.S. Auorney
                                                             401 West Evans Street, Suite 222
                                                             Florence, South Carolina 29501
                                                             Tel.: (843) 665-6688
                                                             Fax: (843) 678-8809
                                                             Email: Derek.Shoemake@usdoj.gov




                                             Page   4 of 4
